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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                       Miami Division

                                 Case No. 08-20574 Cr (Lenard)

  UNITED STATES OF AMERICA,

                 Plaintiff,
  vs.

  RALPH MERRILL,

      Defendant.
  ___________________________/

                                     NOTICE OF APPEAL

         Notice is hereby given that Ralph Merrill (“Merrill”), Defendant in the above named case

  hereby appeals to the United States Court of Appeals for the Eleventh Circuit from the judgment

  of conviction entered in this action on the 25th day of March 2011. The appeal is being filed

  pursuant to the provisions of 28 U.S.C. § 1291 and 28 U.S.C. § 1294.



  DATED this 25th day of March, 2011



                                              Respectfully submitted,

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                                              By:    s/ Brian H. Bieber________
                                                     Brian H. Bieber
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 25, 2011, I electronically filed the foregoing with the Clerk
  of the Court by using the CM/ECF system which will send a notice of electronic filing to all
  counsel of record.


                                                               s/ Brian H. Bieber
                                                               BRIAN H. BIEBER




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